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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )                8:13CR266
                     Plaintiff,               )
                                              )
         vs.                                  )                  ORDER
                                              )
JAVIER ROCHIN-ROCHIN,                         )
                                              )
                     Defendants.              )
         This matter is before the court on the motion to continue by defendant Javier
Rochin-Rochin (Rochin-Rochin) (Filing No. 33). Rochin-Rochin seeks a continuance of the
trial of this matter which is scheduled for September 23, 2013. Rochin-Rochin has filed an
affidavit wherein Rochin-Rochin represents that he consents to the motion and
acknowledges he understands the additional time may be excludable time for the purposes
of the Speedy Trial Act (Filing No. 34). Upon consideration, the motion will be granted.


         IT IS ORDERED:
         1.    Rochin-Rochin's motion to continue trial (Filing No. 33) is granted.
         2.    Trial of this matter is re-scheduled for October 28, 2013, before Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
September 16, 2013, and October 28, 2013, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
defendant’s counsel requires additional time to adequately prepare the case. The failure
to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A)
& (B).
         DATED this 16th day of September, 2013.
                                                  BY THE COURT:

                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
